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 7

 8
                                    IN THE UNITED STATES DISTRICT COURT
 9
                                        EASTERN DISTRICT OF CALIFORNIA
10

11   UNITED STATES OF AMERICA,                               CASE NO. 2:13-CR-0412 TLN
12                                    Plaintiff,              STIPULATION TO CONTINUE JUDGMENT
                                                              AND SENTENCING HEARING; ORDER
13                             v.
14   MARIO LOPEZ-AYALA,
15                                   Defendant.
16

17                                                STIPULATION
            Plaintiff United States of America, by and through its counsel of record, and defendant Mario Lopez-
18
     Ayala, by and through his counsel of record, hereby stipulate as follows:
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20          1.         By previous order, this matter was set for a judgment and sentencing hearing on August 25,

21 2016.

22          2.         By this stipulation, the parties jointly move the Court to continue the judgment and
23 sentencing hearing to December 8, 2016.

24
            3.         Because the defendant stands convicted of possession with intent to distribute
25
     methamphetamine in violation of Title 21, United States Code § 841(a)(1), the provisions of the Speedy Trial
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     Act, 18 U.S.C. § 3161, et seq., do not apply to this stipulation and the continuance of the date for judgment
27
     and sentencing.
28

       STIPULATION FOR CONTINUANCE OF JUDGMENT AND           1
       SENTENCING
              Case 2:13-cr-00412-TLN Document 81 Filed 08/23/16 Page 2 of 2

            IT IS SO STIPULATED.
 1

 2
      Dated: August 23, 2016                                     PHILLIP A. TALBERT
 3
                                                                 Acting United States Attorney
 4
                                                                 /s/ Josh F. Sigal
 5                                                               JOSH F. SIGAL
                                                                 Special Assistant United States Attorney
 6

 7   Dated: August 23, 2016                                     /s/ Josh F. Sigal for
                                                                 KATHERINE LOTHROP, ESQ.
 8                                                               Counsel for Defendant
 9                                                               MARIO LOPEZ-AYALA

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11

12

13
                                                     ORDER
14
            For the reasons set forth in the parties’ stipulation and for good cause showing, the Court hereby
15
     ADOPTS the parties’ stipulation and orders that the judgment and sentencing hearing in this matter be
16
     continued to December 8, 2016 at 9:30 a.m. The dates for submission of all informal and formal
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     objections and sentencing memoranda shall be reset based on the new hearing date.
18

19
     IT IS SO ORDERED this 23rd day of August, 2016.
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22                                                                  Troy L. Nunley
                                                                    United States District Judge
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      STIPULATION FOR CONTINUANCE OF JUDGMENT AND        2
      SENTENCING
